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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW MEXICO

                                              Clerk's Minutes
                                  Before the Honorable James O. Browning


CASE NO.           19-CR-3113                    DATE: January 9, 2020

TITLE: USA v Padilla, et al.

COURTROOM CLERK: J. Wright                       COURT REPORTER: J. Bean

COURT IN SESSION: 8:30AM-9:23AM                  TOTAL TIME: 53 MINUTES

TYPE OF PROCEEDING: SCHEDULING CONFERENCE

COURT RULING:                COURT RESETS FOR FEBRUARY 13, 2020 AT 1:30 PM


ATTORNEYS PRESENT FOR PLAINTIFF(S):              ATTORNEYS PRESENT FOR DEFENDANT(S):
 Kristopher Houghton                              Brittany Schaeffer
 Robert Goldaris                                  Wayne Baker
                                                  Thomas Clark
                                                  Diego Esquibel
                                                  Gregory Acton
                                                  Charles Knoblauch
                                                  Phillip Sapien
                                                  Michael Davis
                                                  Jennifer Wernersbach


PROCEEDINGS:

8:30AM        COURT IN SESSION; COUNSEL ENTER APPEARANCES; DEFENDANTS APPEAR BOTH IN

CUSTODY AND OUT OF CUSTODY; MARCOS RUIZ REMAINS A FUGITIVE. MR. FISCHER DOES NOT

APPEAR FOR AMANDA SILVA.

8:35AM        MR. HOUGHTON STATE IT WILL TAKE ABOUT 3 MORE WEEKS TO FINISH DISCLOSURE.

8:40AM        DEFENSE RESPONDS TO DISCLOSURE FROM MR. ELLIS AND THE FACT THAT DUE TO THE

ISSUE OF NOT HAVING ALL THE INFORMATION, THEY DO NOT FEEL CONFIDENT IN GIVING THE COURT

ANY DATES FOR THE SCHEDULING ORDER.

8:57AM        DEFENSE ADVISES THE COURT THAT THE TABLETS FOR DEFENDANTS HAVE NOT BEEN

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EFFECTUATED AND IS DELAYING DEFENSE WORKING WITH CLIENTS.

8:58AM        MR. HOUGHTON ADVISES THE COURT ABOUT THE DETAILS OF THE FOUR WIRE TAPS THAT

ARE BEING DISCLOSED.

9:00AM        COURT SET 2-12-20 AT 1:30PM FOR ANOTHER SCHEDULING CONFERENCE.

9:05AM        COURT EXCUSES GOVERNMENT SO THAT DEFENSE ATTORNEYS CAN VISIT WITH THEIR

CLIENTS WHILE WAITING FOR MR. ROBERT.

9:11AM        COURT SEALS THE COURTROOOM FOR “CJA MEETING”.

9:12AM        MR. ROBERT APPEARS TO ADDRESS THE TABLET INFORMATION AND OTHER ISSUES

CONFRONTING THE DEFENDANTS.

9:22AM        GOVERNMENT HAS NOTHING FURTHER; DEFENSE HAS NOTHING FURTHER.

9:23AM        COURT IN RECESS.




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